     Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 1 of 26 PageID #:1397




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DAZARINE WOODS, as Special                   )
Administrator of the Estate of MELVIN        )
C. WOODS, Jr., Deceased, and                 )
DAZARINE WOODS, Individually,                )         Case Number: 16-C-1671
                                             )
                       Plaintiff,            )
                                             )         Honorable Judge Norgle
v.                                           )
                                             )
THE CITY OF CHICAGO, a Municipal             )         Jury Demand
Corporation; and DETENTION                   )
AIDE WEST,                                   )
                                             )
                       Defendants.           )

        DEFENDANTS CITY OF CHICAGO AND DETENTION AID WESTS’ JOINT
     ANSWER, AFFIRMATIVE DEFENSES, AND JURY DEMAND TO PLAINTIFF’S
                    SEVENTH AMENDED COMPLAINT

        Defendants, City of Chicago and Detention Aid West (collectively “Defendants”), by and

through one of their attorneys, Vincent Michael Rizzo, Assistant Corporation Counsel for the

City of Chicago Department of Law, for their joint answer, affirmative defenses and jury demand

state the following:

                                    FACTUAL ALLEGATIONS

      1.    DAZARINE WOODS is the Special Administrator of the Estate of MELVIN C.
WOODS, JR., deceased. Attached hereto as Exhibit "A" is a copy of the order appointing
DAZARINE WOODS, Special Administrator of the Estate of MELVIN C. WOODS, JR.
Melvin C. Woods, Jr. was the husband of Dazarine Woods.

        ANSWER:        Defendants City and West admit that the order attached to Plaintiff’s

Amended Complaint as “Exhibit A” appoints Dazarine Woods as Special Administrator of the

decedent’s estate. However, Defendants City and West lack knowledge or information sufficient



                                                 -1-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 2 of 26 PageID #:1397




to form a belief as to the truth of the remaining allegations contained in this paragraph, and

therefore deny and demand strict proof thereof.

       2.      On November 20, 2011, MELVIN C. WOODS, JR. was arrested without a
warrant and taken to the Calumet District City of Chicago Police Station ("Area Two"), located
at 727 East 111th Street, in the City of Chicago, County of Cook, State of Illinois.

        ANSWER:         Defendants admit that on November 20, 2011, Melvin C. Woods, Jr. was

arrested based on probable cause and was taken to the police station located at 727 East 111th

Street, Chicago, Illinois.

       3.       While at Area Two, MELVIN C. WOODS, JR. told one or more Chicago Police
Officers that he was going to kill himself.

        ANSWER:         Defendant West denies the allegations set forth in this paragraph.

Defendant City lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph.

        4.      While at Area Two, MELVIN C. WOODS, JR., in front of one or more Chicago
Police Officers, took his pants off and used them to attempt to tie his pants around his neck and a
cell bar in order to hang himself.

        ANSWER:         Defendant West admits that Mr. Woods took his pants off, but denies the

remaining allegations set forth in this paragraph. Defendant City admits that Mr. Woods took his

pants off, but lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

       5.      One of more Chicago Police Officers then took away MELVIN C. WOODS,
JR.’s pants and the rest of his clothing, except for his underpants.

        ANSWER:         Defendant City, upon information and belief, and Defendant West admit

the allegations contained in this paragraph.




                                                  -2-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 3 of 26 PageID #:1397




       6.      The officers then left MELVIN C. WOODS, JR. alone in his cell.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

the allegations contained in this paragraph.

       7.      A short time later, MELVIN C. WOODS, JR. was found dead in his cell, hanging
from the bars by his underpants.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

the allegations contained in this paragraph.

       8.      The Chicago police claim that MELVIN C. WOODS, JR. committed suicide by
hanging.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

the allegations contained in this paragraph.

        9.     Thereafter, Chicago Police Superintendent, Garry McCarthy, publicly admitted
that the camera (or cameras) inside the cell where MELVIN C. WOODS, JR. was interrogated
was not working.

       ANSWER:         Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore deny and demand

strict proof thereof. Upon information and belief, Defendant City denies the allegations set forth

in this paragraph.

        10.   The camera (or cameras) inside the cell where MELVIN C. WOODS, JR. was
interrogated was placed there for safety reasons.

       ANSWER:         Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore deny and demand

strict proof thereof. Upon information and belief, Defendant City denies the allegations set forth

in this paragraph.




                                               -3-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 4 of 26 PageID #:1397




       11.    Among other things, the camera (or cameras) was placed in the cell to prevent
inmates from hurting themselves inclusive of committing suicide.

       ANSWER:         Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore deny and demand

strict proof thereof. Upon information and belief, Defendant City denies the allegations set forth

in this paragraph.

       12.     In addition, one or more cameras were placed in that cell to prevent inmates from
hurting each other, among other ways, by fighting.

       ANSWER:         Defendant West lack knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore deny and demand

strict proof thereof. Upon information and belief, Defendant City denies allegations set forth in

this paragraph.

       13.     Just three days prior, on November 17, 2011, another man, Develt Bradford, was
found dead in an Area Two cell in which the cameras also were not working.

       ANSWER:         Defendants admit that Develt Bradford was found dead, hanging in his

cell, in the 5th District police station lockup on November 17, 2011. Defendant West, and, upon

information and belief, the City, admit that cameras in the 5th District police station were not

working on November 17, 2011 and November 20, 2011.

       14.     The officers and employees at Area Two were therefore on notice of the risks of
holding a person in a cell with a non-working camera or cameras.

       ANSWER:         Defendants West, and, upon information and belief, the City deny the

allegations set forth in this paragraph

        15.    Defendant WEST was Detention Aide during the time MELVIN C. WOODS, JR.
was in the unsupervised cell at Area Two.




                                                -4-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 5 of 26 PageID #:1397




       ANSWER:         Defendant West admits that he was an on-duty detention aide in the 5th

District lockup during the time that Melvin C. Woods, Jr. was in the 5th District lockup, which is

separate and distinct from Area 2. Upon information and belief, Defendant City admits that

Defendant West was an on-duty detention aide in the 5th District lockup during the time Melvin

C. Woods, Jr. was present in the 5th District lockup, which is separate and distinct from Area 2.

Defendants deny the remaining allegations in set forth in this paragraph.

         16.     Defendant WEST and the Chicago police officers who reported to him at Area
Two unreasonable, willfully and wantonly disregarded the fact that the camera (or cameras)
inside the cell where MELVIN C. WOODS, JR. was placed was not working. They placed him
in that cell with an utter disregard for his life and safety.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that at the time Plaintiff was in the 5th District lockup, the surveillance cameras in the lockup

area were not working, but deny the remaining allegations contained in this paragraph.

        17.     As the Detention Aide, Defendant WEST was primarily responsible for and had a
duty to safely guard the inmates in the facility, including MELVIN C. WOODS, JR.

       ANSWER:         Upon information and belief, Defendants City and West admit that the

duty alleged in this paragraph existed only to the extent required by law, but deny that Defendant

West breached any duty owed, and deny the remaining allegations set forth in this paragraph.

    18.     Defendant WEST and the other persons who were on duty when MELVIN C.
WOODS, JR. died were Chicago police officer and/or agents of the City of Chicago.

       ANSWER: Upon information and belief, Defendants City, and West admit that

Defendant West and the other persons on duty in the 5th District lockup were Chicago police

officers and/or agents of the City of Chicago.

        19.     On or around November 21, 2011, Chicago Police Spokesperson Maureen
Biggane told the public that the Independent Police Review Authority ("IPRA") was
investigating the death of MELVIN C. WOODS. JR.


                                                 -5-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 6 of 26 PageID #:1397




       ANSWER:        Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore denies and demands

strict proof thereof. Upon information and belief, Defendant City admits the allegations set forth

in this paragraph.

       20.    As of the submission or this Amended Complaint, IPRA has not given the public
any answers about his death.

       ANSWER:        Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph, and therefore denies and demands

strict proof thereof. Defendant City admits as of January 12, 2016, the date of the original filing

of Plaintiff’s Seventh Amended Complaint, IPRA was conducting its ongoing investigation into

this matter, which included the gathering of evidence, subject to all applicable laws and

privileges, and, as such, that investigation remained confidential and was not yet concluded at

that time. Defendant City avers that the investigation was closed on February 9, 2016. On

information and belief, Defendant City denies the remaining allegations contained in this

paragraph and avers that IPRA is a public agency.

        21.     Moreover, the IRPA has not publicly announced a date when it will complete its
investigation into MELVIN C. WOODS, JR.'s death.

       ANSWER:        Defendant City, upon information and belief, admits that IPRA closed its

investigation on February 9, 2016 and thereafter such information was available via a FOIA

request. Defendant City, upon information and belief, further avers that IPRA published an

abstract of the matter in its second quarterly report in June of 2016. Defendant City denies the

remaining allegations contained in this paragraph. Defendant West lacks knowledge or




                                                -6-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 7 of 26 PageID #:1397




information sufficient to form a belief as to the truth of the allegations contained in this

paragraph.

       22.    Defendant WEST and other Chicago police officers expect that entities like OPS
and IPRA will fail to uncover or disclose police wrongdoing, which reduces the incentive
Chicago police officers have to protect the lives of people in their custody like MELVIN C.
WOODS, JR.

       ANSWER:         Defendant City and West deny the allegations contained in this paragraph

and lack knowledge or information sufficient to form a belief as to the truth of the allegations

regarding other Chicago police officers.

        23.    At all times relevant to this Seventh Amended Complaint, the Area Two police
station was a municipal unit of the City of Chicago, a municipal corporation, which was engaged
in the business for which was incorporated.

       ANSWER:         Defendants City, and West admit that at all times relevant to this Seventh

Amended Complaint, the Area Two police station was an entity located within, and operated by,

the Chicago Police Department, a Department of the City of Chicago, a municipal corporation

engaged in the business for which it was incorporated. Defendants deny the remaining

allegations contained in this paragraph.

        24.    At all times relevant herein, Defendant CITY, owned, operated, maintained and
controlled the Area Two police stations.

       ANSWER:         Defendant City and, upon information and belief, Defendant West, admit

that the City of Chicago owned, operated, maintained, and controlled the 5th District police

station and Area 2 detective division, which are separate and distinct from each other.

             COUNT I – DETENTION AID WEST AND CITY OF CHICAGO
                 WRONGFUL DEATH – WILLFUL AND WANTON

       25.     Each of the foregoing paragraphs is incorporated as if restated fully herein.




                                                 -7-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 8 of 26 PageID #:1397




        ANSWER:         Defendants City and West reassert their answers contained in the

preceding paragraphs one through twenty four (1-24) and incorporate those answers herein, as

though fully stated.

        26.    At all relevant times, Defendant CITY, by and through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, that provided various services at the police station was subject to the
applicable laws set forth by the State of Illinois and the municipality of the City or Chicago and
the regulations promulgated therein.

        ANSWER:         Defendants City and West admit that at all relevant times they were

subject to all applicable laws of the State of Illinois, as set forth by the Illinois Constitution, the

laws of the City of Chicago, and the United States Constitution. Defendants City and West deny

the remaining allegations contained in this paragraph.

        27.      At all relevant times, Defendant CITY, by and through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, that provided various services at the police station had a duty not to violate
the rights of its arrestees/detainees, including Plaintiff's decedent, MELVIN C. WOODS, JR.

        ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed, and deny

the remaining allegations contained in this paragraph.

        28.    At all relevant times, Defendant CITY, through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, that provided various services to the general public, invitees, arrestees and
detainees including but not limited to Plaintiff’s decedent, MELVIN C. WOODS, JR., had a duty
to provide a safe environment, free of potential risk of harm, danger and/or death to its invitees,
arrestees and detainees therein.

        ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed, and deny

the remaining allegations contained in this paragraph.



                                                   -8-
   Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 9 of 26 PageID #:1397




       29.    At all relevant times, Defendant CITY, through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, involved in the occurrence were acting under the color of law as sworn law
enforcement officers.

       ANSWER:         Upon information and belief, Defendant City admits that all sworn officers

and detention aides on duty and present at the time of the occurrence were acting in their official

capacity and under color of law, but denies the remainder of the allegations set forth in this

paragraph. Defendant West admits that he was acting in his official capacity and under color of

law during all times relevant to this Seventh Amended Complaint when present in the 5th

District Police Station. Defendant West lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations set forth in this paragraph.

        30.    On and between November 19, 2011 and November 20, 2011, Plaintiff’s
decedent, MELVIN C. WOODS, JR., was under the complete care and control of various duly
authorized agents, apparent agents, employees, servants and/or other personnel at the Police
Station of Defendant CITY, including but not limited to Defendant West.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was in the custody of the Chicago Police Department on November

20, 2011, but deny the remainder of the allegations set forth in this paragraph.

       31.     On and between November 19, 2011 and November 20, 2011, Plaintiff’s
decedent, MELVIN C. WOODS, JR., while under the complete care and control of various duly
authorized agents, apparent agents, employees, servants and/or other personnel of Defendant
CITY, including, but not limited to Defendant WEST, sustained various injuries and subsequent
death while an arrestee/detainee at the police station of Defendant CITY.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was in the custody of the Chicago Police Department, and died by

suicide hanging, with injuries related thereto, while in custody on November 20, 2011, but lack




                                                  -9-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 10 of 26 PageID #:1397




knowledge or information sufficient to form a belief as to the truth of the remaining allegations

contained in this paragraph

        32.    On November 20, 2011, while under the complete care and control of various
agents, apparent agents, employees, servants and/or other personnel of Defendant CITY,
including but not limited to Defendant WEST, Plaintiff's decedent, MELVIN C. WOODS, JR.,
was allegedly found hanging in an area of the police station which was under the complete
control of Defendant CITY.

       ANSWER:        Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was found hanging in his cell in the 5th District police station lockup,

while in custody of the Chicago Police Department. Upon information and belief, Defendants

City and West deny the remaining allegations contained in this paragraph.

        33.    On November 20, 2011, while under the complete care and control of various
duly authorized agents, apparent agents, employees, servants and/or other personnel of
Defendant CITY, including but not limited to Defendant WEST, MELVIN C. WOODS. JR.,
died at Defendant CITY's police station.

       ANSWER:        Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was found hanging in his cell in the 5th District police station lockup,

resulting in his death, while in custody of the Chicago Police Department. Upon information and

belief, Defendants City and West deny the remaining allegations contained in this paragraph.

        34.     On and between November 19, 2011 and November 20, 2011, and at all times
mentioned herein, Defendant CITY, by its duly authorized agents, apparent agents, employees,
servants and/or other personnel including but not limited to Defendant WEST, had a duty to
protect the rights of Plaintiff’s decedent, MELVIN C. WOODS, JR.

       ANSWER:        Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed, and deny

the remaining allegations contained in this paragraph.

      35.     On and between November 19, 2011 and November 20, 2011, and at all times
mentioned herein, Defendant CITY, by its duly authorized agents, apparent agents, employees,


                                               -10-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 11 of 26 PageID #:1397




servants and/or other personnel, including but not limited to Defendant WEST, acted with a
conscious disregard or a reckless disregard for the duty owed to the Plaintiff’s decedent,
MELVIN C. WOODS, JR.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph.

       36.     On and between November 19, 2011 and November 20, 2011, and at all times
mentioned herein Defendant CITY, by its duly authorized agents, apparent agents, employees,
servants and/or other personnel including but not limited to Defendant WEST, had a duty to
possess and apply the knowledge and skill that those of other similarly situated institutions
would exercise under the same or similar circumstances.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed, and deny

the remaining allegations contained in this paragraph.

        37.    At all relevant times, Defendant CITY, by its duly authorized agents, apparent
agents, employees, servants and/or other personnel including but not limited Defendant WEST
had a duty to exercise ordinary care to provide a safe environment, free of potential risk of harm,
danger and/or death to its invitees, arrestees and detainees therein.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed, and deny

the remaining allegations contained in this paragraph.

        39.     At all relevant times, Defendant CITY, through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, knowingly and intentionally breached its duty and violated the rights of
Plaintiff's decedent, MELVIN C. WOODS, JR., and was reckless in one or more or the following
respects:

               a.      Willfully and wantonly and in violation of the standard operating
                       procedures of Defendant CITY, placed Plaintiff's decedent, MELVIN C.
                       WOODS, JR., in a cell where there was no surveillance;

               b.      Knowingly and intentionally allowed Plaintiff’s decedent, MELVIN C.
                       WOODS, JR., to be physically and emotionally abused, even unto death;



                                               -11-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 12 of 26 PageID #:1397




               c.      Consciously disregarded the rights of Plaintiff’s decedent, MELVIN C.
                       WOODS, JR., to be in a safe and risk free environment;

               d.      Intentionally failed to reasonably safeguard Plaintiff’s decedent, MELVIN
                       C. WOODS, JR., from injury and subsequent death;

               e.      Consciously disregarded the policies, procedures, rules and regulations set
                       for by Defendant CITY, regarding safety of its arrestees/detainees,
                       including Plaintiff’s decedent, MELVIN C. WOODS, JR.;

               f.      Willfully and wantonly omitted the exercise of ordinary care in general
                       and to Plaintiff’s decedent, MELVIN C. WOODS, JR.;

               g.      Knowingly failed to comply with applicable laws set forth by the State of
                       Illinois and the City of Chicago and the regulations promulgated therein
                       for police stations similar to that of Defendant, CITY;

               h.      Intentionally and knowingly did not adequately and properly supervise its
                       arrestees/detainees, including Plaintiff’s decedent, MELVIN C. WOODS,
                       JR.;

               i.      Knowingly deprived Plaintiff’s decedent, MELVIN C. WOODS, JR., of
                       the necessary services to maintain the highest practicable level of physical
                       well-being; and

               j.      Were otherwise careless and reckless.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph, including all sub-parts.

        39.     As a direct and proximate result of one or more or the aforesaid willful and
wanton acts and/or omissions by Defendant CITY, Plaintiff’s decedent, MELVIN C. WOODS,
JR., sustained injuries of a personal and pecuniary nature which resulted in his death on
November 20, 2011.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph.

        40.      MELVIN C. WOODS, JR., deceased, left surviving him his wife, DAZARINE
WOODS, three daughters, Mary Woods, Felicia Woods and Sparkle Ball-Reed, sisters, Ernestine
Walker and Rose Woods, and one brother, Joe Woods, all who have sustained pecuniary losses
as a result of his death, including but not limited to loss of society, companionship, affection,


                                                 -12-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 13 of 26 PageID #:1397




love, and support.

        ANSWER:         Defendants City and West lack knowledge or information sufficient to

form a belief as to the truth of the allegations contained in this paragraph.

       41.     Plaintiff DAZARINE WOODS, as Independent Administrator of the Estate of
MELVIN C. WOODS, JR., deceased, and DAZARINE WOODS, individually, brings this action
pursuant to 740 ILCS 180/1, et seq., commonly known as the Wrongful Death Act.

        ANSWER:         Defendants City and West admit that Plaintiff purports to bring Count I

pursuant to the Illinois Wrongful Death Act. Defendants City and West deny any liability or

wrongdoing alleged in this Complaint.

        WHEREFORE, Defendants City and West request that this Court enter judgment in

their favor as to Count I and against Plaintiff and enter any other relief in their favor and against

Plaintiff that this Court deems just and proper.


              COUNT II – CITY OF CHICAGO AND DETENETION AID WEST
                         SURVIVAL – WILLFUL AND WANTON

        42.     Each of the foregoing paragraphs is incorporated as if restated fully herein.

        ANSWER:         Defendants City and West reassert their answers contained in the

preceding paragraphs one through forty one (1-41) and incorporate those answers herein, as

though fully stated.

        43.    At all relevant times, Defendant CITY, by and through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST that provided various services at the police station was subject to the
applicable laws set forth by the State of Illinois and the municipality of the City or Chicago and
the regulations promulgated therein.

        ANSWER:         Defendants City and West admit that at all relevant times they were

subject to all applicable laws of the State of Illinois, as set forth by the Illinois Constitution, the



                                                   -13-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 14 of 26 PageID #:1397




laws of the City of Chicago, and the United States Constitution. Defendants City and West deny

the remaining allegations contained in this paragraph.

        44.     That at all relevant times, Defendant CITY, by and through its duly authorized
agents, apparent agents, employees, servants and/or any other personnel including but not limited
to Defendant WEST that provided various services at the police station had a duty not to violate
the rights of Plaintiff’s decedent, MELVIN C. WOODS, JR.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed.

Defendants City and West deny the remaining allegations contained in this paragraph.

        45.    At all relevant times, Defendant CITY, through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, that provided various services to the general public, invitees, arrestees and
detainees including but not limited to Plaintiff’s decedent, MELVIN C. WOODS, JR., had a duty
to provide a safe environment, free of potential risk of harm, danger and/or death to its invitees,
arrestees and detainees therein.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed.

Defendants City and West deny the remaining allegations contained in this paragraph.

       46.     At all relevant times, Defendant CITY, by and through its duly authorized agents,
apparent agents, employees, servants and/or any other personnel including but not limited to
Defendant WEST, involved in the occurrence were acting in their individual capacity and under
the cover of law as sworn law enforcement officers.

       ANSWER:         Upon information and belief, Defendant City admits that all sworn officers

and detention aides on duty and present at the time of the occurrence were acting in their official

capacity and under color of law, but denies the remainder of the allegations set forth in this

paragraph. Defendant West admits that he was acting in his official capacity and under color of

law as a detention aide during all times relevant to this Seventh Amended Complaint when




                                                -14-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 15 of 26 PageID #:1397




present in the 5th District Police Station. Defendant West lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations set forth in this paragraph.

        47.    On and between November 19, 2011 and November 20, 2011, Plaintiff's
decedent, MELVIN C. WOODS, JR., was under the complete care and control of various duly
authorized agents, apparent agents, employees, servants and/or other personnel at the Police
Station of Defendant CITY, including but not limited to Defendant WEST.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was in the custody of the Chicago Police Department on November

20, 2011, but deny the remainder of the allegations set forth in this paragraph.

       48.     On and between November 19, 2011 and November 20, 2011, Plaintiff's
decedent, MELVIN C. WOODS, JR., while under the complete care and control of various duly
authorized agents, apparent agents, employees, servants and/or other personnel of Defendant
CITY, including but not limited to Defendant WEST, sustained various injuries and subsequent
death while an arrestee/detainee at Defendant CITY’s police station.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was in the custody of the Chicago Police Department, and died, on

November 20, 2011, but lack knowledge or information sufficient to form a belief as to the truth

of the remaining allegations contained in this paragraph, and therefore deny those allegations and

demand strict proof thereof.

        49.    On November 20, 2011, while under the complete care and control of various
agents, apparent agents, employees, servants and/or other personnel of Defendant CITY,
including, but not limited to Defendant WEST, Plaintiff’s decedent, MELVIN C. WOODS, JR.,
was allegedly found hanging in an area of the police station which was under the complete
control of Defendant CITY.

       ANSWER:         Defendants City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was found hanging in his cell in the 5th District police station lockup,

while in custody of the Chicago Police Department. Upon information and belief, Defendants

City and West deny the remaining allegations contained in this paragraph.


                                                 -15-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 16 of 26 PageID #:1397




        50.    On November 20, 2011, while under the complete care and control of various
duly authorized agents, apparent agents, employees, servants and/or other personnel of
Defendant CITY, including, but not limited to, Defendant WEST, MELVIN C. WOODS, JR.,
died at Defendant CITY’s police station.

       ANSWER:         Defendant City, upon information and belief, and Defendant West admit

that Melvin C. Woods, Jr. was found hanging in his cell in the 5th District police station lockup,

resulting in death, while in custody of the Chicago Police Department. Upon information and

belief, Defendants City and West deny the remaining allegations contained in this paragraph.

       51.     On and between November 19, 2011 and November 20, 2011, and at all times

mentioned herein, Defendant CITY, by its duly authorized agents, apparent agents, employees,

servants and/or other personnel including, but not limited to, Defendant WEST had a duty to

protect the rights of Plaintiff's decedent, MELVIN C. WOODS, JR.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed.

Defendants City and West deny the remaining allegations contained in this paragraph.

       52.     On and between November 19, 2011 and November 20, 2011, and at all times
mentioned herein, Defendant CITY, by its duly authorized agents, apparent agents, employees,
servants and/or other personnel, including, but not limited to, Defendant West, acted with a
conscious disregard or a reckless disregard for the duty owed to Plaintiff's decedent, MELVIN C.
WOODS, JR.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph.

       53.     On and between November19, 2011 and November 20, 2011, and at all times
mentioned herein Defendant CITY, by its duly authorized agents, apparent agents, employees,
servants and/or other personnel including but not limited to Defendant WEST, had a duty to
possess and apply the knowledge and skill that those of other similarly situated institutions
would exercise under the same or similar circumstances.




                                               -16-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 17 of 26 PageID #:1397




       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed.

Defendants City and West deny the remaining allegations contained in this paragraph.

        54.    At all relevant times, Defendant CITY, by its duly authorized agents, apparent
agents, employees, servants and/or other personnel including but not limited Defendant WEST
had a duty to exercise ordinary care to provide a safe environment, free of potential risk of harm,
danger and/or death to its invitees, arrestees and detainees therein.

       ANSWER:         Defendants City and West admit that the duty alleged in this paragraph

existed only to the extent required by law, but deny that they breached any duty owed.

Defendants City and West deny the remaining allegations contained in this paragraph.

        55.     At all relevant times mentioned herein, Defendant CITY, through its duly
authorized agents, apparent agents, employees, servants and/or any other personnel including,
but not limited to, Defendant WEST, knowingly and intentionally breached its duty and violated
the rights of Plaintiff's decedent, MELVIN C. WOODS, JR., and was reckless in one or more of
the following respects:

               a.      Willfully and wantonly and in violation of the standard operating
                       procedures of Defendant CITY, placed Plaintiff's decedent, MELVIN C.
                       WOODS, JR., in a cell where there was no surveillance;

               b.      Knowingly and intentionally allowed Plaintiff’s decedent, MELVIN C.
                       WOODS, JR., to be physically and emotionally abused, even unto death;

               c.      Consciously disregarded the rights of Plaintiff’s decedent, MELVIN C.
                       WOODS, JR., to be in a safe and risk free environment;

               d.      Intentionally failed to reasonably safeguard Plaintiff’s decedent, MELVIN
                       C. WOODS, JR., from injury and subsequent death;

               e.      Consciously disregarded the policies, procedures, rules and regulations set
                       forth by Defendant CITY, regarding safety of its arrestees/detainees,
                       including Plaintiff’s decedent, MELVIN C. WOODS, JR.;

               f.      Willfully and wantonly omitted the exercise of ordinary care in general
                       and to Plaintiff’s decedent, MELVIN C. WOODS, JR.;

               g.      Knowingly failed to comply with applicable laws set forth by the State of


                                               -17-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 18 of 26 PageID #:1397




                       Illinois and the City of Chicago and the regulations promulgated therein
                       for police stations similar to that of Defendant, CITY;

               h.      Intentionally and knowingly did not adequately and properly supervise its
                       arrestees/detainees, including Plaintiff’s decedent, MELVIN C. WOODS,
                       JR.;

               i.      Knowingly deprived Plaintiff’s decedent, MELVIN C. WOODS, JR., of
                       the necessary services to maintain the highest practicable level of physical
                       well-being; and

               j.      Were otherwise careless and reckless.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph, including all sub-parts.

        56.     As a direct and proximate result or one or more or the aforesaid intentional acts
and/or omissions of Defendant CITY, MELVIN C. WOODS. JR. sustained injuries of a personal
and pecuniary nature including conscious pain and suffering prior to his death on November 20,
2011. Had MELVIN C. WOODS, JR. survived, he would have been entitled to bring an action
for these injuries and the action survives his death.

       ANSWER:         Defendant City, upon information and belief, and Defendant West deny

the allegations set forth in this paragraph.

        57.     Plaintiff DAZARINE WOODS, as the duly-appointed Independent Administrator
of the Estate of MELVIN C. WOODS, JR., deceased, and DAZARINE WOODS, individually,
brings this action pursuant to 755 ILCS 5/27-6, commonly known as the Illinois Survival Statute.

       ANSWER:         Defendants City and West admit that Plaintiff purports to bring Count II

pursuant to the Illinois Survival Statute. Defendants City and West deny any liability or

wrongdoing alleged in this Complaint.

         58.   Plaintiff’s attorney attaches hereto and incorporates hereto an affidavit pursuant to
Illinois Supreme Court Rule 222, selling forth that he believes the value of this matter exceeds
the sum of $50,000.00 (FIFTY THOUSAND DOLLARS).

       ANSWER:         Defendants City and West admit that Plaintiff’s counsel attached an

Illinois Supreme Court Rule 222 affidavit to this Seventh Amended Complaint when originally


                                                 -18-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 19 of 26 PageID #:1397




filing the Complaint in the Circuit Court of Cook County, Illinois, and, on information and

belief, deny the remaining allegations contained in this paragraph.

          WHEREFORE, Defendants City and West request that this Court enter judgment in their

favor as to Count II and against Plaintiff and enter any other relief in their favor and against

Plaintiff that this Court deems just and proper.

                       COUNT III - DETENTION AIDE WEST
           §1983 FOURTH AMENDMENT - UNREASONABLE CONDITIONS OF
                                CONFINEMENT

          59-69. Count III of Plaintiff’s Seventh Amended Complaint is not directed to Defendant

City, so the City provides no answer thereto.

          59.    Each of the foregoing paragraphs is incorporated as if restated fully herein.

          ANSWER:       Defendant West reasserts his answers contained in the preceding

paragraphs one through fifty eight (1-58) and incorporate those answers herein, as though fully

stated.

       60.     At the time of his death, MELVIN C, WOODS JR. had not yet received a
Gerstein hearing to determine whether there was probable cause for his arrest.

          ANSWER:       On information and belief, Defendants West admits Mr. Woods had not

yet received a Gerstein hearing.

        61.     Thus, at the time of his death, MELVIN C, WOODS JR. was still entitled to the
protections of the Fourth Amendment of the United States Constitution.

          ANSWER:       Defendant West admits that the protections alleged in this paragraph

existed only to the extent required by law, but deny that Mr. Woods’ Fourth Amendment rights

were violated.

    62.    On the night of his death, Defendant WEST was put on notice that MELVIN C.
WOODS Jr. was suicidal.


                                                   -19-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 20 of 26 PageID #:1397




       ANSWER:           Defendant West denies the allegations forth in this paragraph.

        63.   At the time of his death, MELVIN C, WOODS JR. was held in cell GI-5, out of
sight and sound of the booking area of the lockup.

       ANSWER:           Defendant West admits that Mr. Woods was held in cell I-5 but, denies the

remaining allegations set forth in this paragraph.

     64.    The camera or cameras in cell 1-5 were not functioning at the time of MELVIN
C.WOODS JR.'s death.

       ANSWER:           Defendant West admits that cameras at the 5th District police station were

not functioning at the time of Mr. Woods’ death, but denies the remaining allegations set forth in

this paragraph.

      65.    Defendant WEST'S actions in placing MELVIN C. WOODS JR. in a cell with
non-working cameras was objectively unreasonable and posed a substantial risk of serious harm
to MELVIN C. WOODS JR.’s health and safety.

       ANSWER:           Defendant West denies the allegations set forth in this paragraph.

        66.    Defendant WEST'S actions in placing MELVTN C. WOODS JR. in a cell out of
sight and sound of the booking area was objectively unreasonable and posed a substantial risk of
serious harm to MELVIN C. WOODS JR.'s health and safety.

       ANSWER:           Defendant West denies the allegations set forth in this paragraph.

       67.     Defendant WEST'S action. in not more closely monitoring MELVIN C.
WOODS JR.'s, health and safety after being put on notice that he was suicidal was objectively
unreasonable and posed a substantial risk of serious harm to MELVIN C. WOODS JR.'s health
and safety.

       ANSWER:           Defendant West denies the allegations set forth in this paragraph.

       68.     Because of Defendant WEST'S unreasonable actions, MELVIN C,WOODS JR. ,
successfully committed suicide.

       ANSWER:           Defendant West denies the allegations set forth in this paragraph.

       69.        Defendant WEST'S aforementioned actions were taken under color of law.


                                                 -20-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 21 of 26 PageID #:1397




          ANSWER:       Defendant West admits he acted under color of law, but denies any

wrongdoing.

          WHEREFORE, Defendant West requests that this Court enter judgment in his favor as to

Count III and against Plaintiff and enter any other relief in his favor and against Plaintiff that this

Court deems just and proper.

                    COUNT IV - DETENTION AIDE WEST
      §1983 FOURTH AMENDMENT— FAILURE TO PROVIDE MEDICAL CARE

          70-78. Count IV of Plaintiff’s Seventh Amended Complaint is not directed to Defendant

City, so the City provides no answer thereto.

          70.    Each of the foregoing paragraphs is incorporated as if restated fully herein.

          ANSWER:       Defendant West reasserts his answers contained in the preceding

paragraphs one through sixty nine (1-69) and incorporate those answers herein, as though fully

stated.

       71.     At the time of his death, MELVIN C. WOODS JR. had not yet received a
Gerstein hearing to determine whether there was probable cause for his arrest.

          ANSWER:       On information and belief, Defendant West admits Mr. Woods had not yet

received a Gerstein hearing.

        72.     Thus, at the time of his death, MELVIN C. WOODS JR, was still entitled to the
protections of the Fourth Amendment of the United States Constitution.

          ANSWER:       Defendant West admits that the protections alleged in this paragraph

existed only to the extent required by law, but deny that Mr. Woods’ Fourth Amendment rights

were violated.

    73.    On the night of his death, Defendant WEST was put on notice that MELVIN C.
WOODS JR. was suicidal.


                                                 -21-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 22 of 26 PageID #:1397




        ANSWER:        Defendant West denies the allegations set forth in this paragraph.

        74.    A suicidal person's need for treatment and/or observation is a serious medical
need.

        ANSWER:        Defendant West lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in this paragraph

         75.    Defendant WEST failed to take reasonable steps to care for MELVIN C. WOODS
JR.'s serious medical need of suicide prevention, including, but not limited to: removing all of
his clothing and providing him with a paper "suicide's gown, transporting him to a mental health
facility, transporting him to a cell without bars where he could hang himself, and/or providing
him with constant supervision.

        ANSWER:        Defendant West denies the allegations set forth in this paragraph.

       76.    Defendant WEST's failure to provide medical care was objectively unreasonable
and posed a substantial risk of serious harm to MELVIN C. WOODS JR.'s health and safety.

        ANSWER:        Defendant West denies the allegations set forth in this paragraph.

      77.     Because of WEST'S unreasonable actions, MELVIN C. WOODS JR. successfully
committed suicide.

        ANSWER:        Defendant West denies the allegations set forth in this paragraph.

        78.    Defendant WEST'S aforementioned actions were taken under color of law.

        ANSWER:        Defendant West admits he acted under color of law, but denies any

wrongdoing alleged in this Complaint.

        WHEREFORE, Defendant West requests that this Court enter judgment in his favor as to

Count IV and against Plaintiff and enter any other relief in his favor and against Plaintiff that this

Court deems just and proper.

                           COUNT V- CITY OF CHICAGO
                   INDEMNIFICATION PUSUANT TO 745 ILCS 10/9-102

        79.    Each of the foregoing paragraphs is incorporated as if restated fully herein.


                                                -22-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 23 of 26 PageID #:1397




       ANSWER:         Defendant City reasserts its answers contained in the preceding paragraphs

one through fifty eight (1-58) and incorporate those answers herein, as though fully stated.

       80.    Defendant City of Chicago is the indemnifying entity for the actions of Defendant
WEST, described above, who took these actions while acting under the color of law and in the
course and scope of his employment with the City of Chicago.

       ANSWER:         Defendant City admits that it is the indemnifying entity for any actions

taken by Defendant West under color of law in the scope of his employment with the City of

Chicago, but, on information and belief, denies the remaining allegations and complained of

conduct contained in this paragraph.

               WHEREFORE, Defendant City requests that this Court enter judgment in its

favor as to Count V and against Plaintiff and enter any other relief in its favor and against

Plaintiff that this Court deems just and proper.


                                       AFFIRMATIVE DEFENSES

       1.      Defendant West is a government official who performed discretionary functions.

At all times material to the events alleged in Plaintiff's Seventh Amended Complaint, a

reasonable Detention Aide objectively viewing the facts and circumstances that confronted

Defendant West could have believed his actions to be lawful, in light of clearly established law

and the information that Defendant possessed. Defendant West, therefore, is entitled to qualified

immunity.

       2.      Any allegation in Plaintiff’s Seventh Amended Complaint that can be construed

as an allegation that Defendants failed to properly monitor or supervise the decedent and his




                                                   -23-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 24 of 26 PageID #:1397




fellow detainees while housed at the 5th District police station is barred by section 4-103 of the

Tort Immunity Act, which was in effect at the time, and which states:

       Neither a local public entity nor a public employee is liable for failure to provide
       a jail, detention or correctional facility, or if such facility is provided, for failure
       to provide sufficient equipment, personnel, supervision or facilities therein.
       Nothing in this Section requires the periodic inspection of prisoners.

745 ILCS 10/4-103.


       3.      To the extent that Defendant West was working as a detention aide, at the time of

this incident, under the Illinois Tort Immunity Act, Defendant West is not liable for any of the

claims alleged because a public employee is not liable for his or her acts or omissions in the

execution or enforcement of any law, unless such acts or omissions constitute willful and wanton

conduct. 745 ILCS 10/2-202.

       4.      Defendant West is not liable for any of the claims alleged because a public

employee, as such and acting within the scope of his or her employment, is not liable for an

injury caused by the act or omission of another person. 745 ILCS 10/2-204.

       5.      Any award of damages against Defendants shall be reduced in proportion to the

comparative fault of Plaintiff’s decedent’s own acts or omissions, including but not limited to his

own negligent, intentional, or willful and wanton conduct which proximately caused the claimed

injuries and damages. In addition, at the time of the actions alleged in Plaintiff’s Seventh

Amended Complaint, 735 ILCS 5/2-1116 (1992) was in effect. This statute reduces a plaintiff’s

recovery according to his contributory negligence and bars his recovery entirely when a plaintiff

is more than fifty percent (50%) of the proximate cause of the injury or damage for which

recovery is sought.



                                                 -24-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 25 of 26 PageID #:1397




        6.      To the extent Plaintiff failed to mitigate any of her claimed injuries or damages,

any verdict or judgment obtained by Plaintiff must be reduced by application of the principle that

Plaintiff had a duty to mitigate her claimed injuries and damages, commensurate with the degree

of failure to mitigate attributed to Plaintiff by the jury in this case.

        7.      Under the Illinois Tort Immunity Act, Defendant City of Chicago is barred from

paying any portion of a judgment representing an award of punitive or exemplary damages

against any of its employees. 745 ILCS 10/2-302.

        8.      Under the Illinois Tort Immunity Act, Defendant City of Chicago is not required

to pay any tort judgment or settlement for any damages for which its employee was acting

outside the scope of his or her employment. 745 ILCS 10/9-102.

        9.      Defendant City of Chicago is not liable to Plaintiffs if its employees or agents are

not liable to Plaintiffs. 745 ILCS 10/2-109.

        10.     Defendant City of Chicago is not liable for any injury caused by the act or

omission of another person. 745 ILCS 10/2-204.

        11.     Plaintiff is not entitled to attorney fees for her state law claims. See Kerns v.

Engelke, 76 Ill.2d 154, 166, 390 N.E.2d 859, 865 (Ill. 1979); Miller v. Pollution Control Board,

267 Ill.App.3d 160, 171, 642 N.E.2d 475, 485 (4th Dist. 1994).

                                           JURY DEMAND

        Defendants City and West demand a trial by jury for all issues so triable.

                                           CONCLUSION

        WHEREFORE, Defendants City and West respectfully request that judgment be entered

in their favor and against Plaintiff in this matter.



                                                  -25-
  Case: 1:16-cv-01671 Document #: 25 Filed: 02/01/17 Page 26 of 26 PageID #:1397




Dated: February 1, 2017                           Respectfully submitted,

                                                              /s/ Vincent Michael Rizzo
                                                                 Vincent Michael Rizzo
                                                         Assistant Corporation Counsel
                                                   City of Chicago Department of Law
                                                Federal Civil Rights Litigation Division
                                                     30 North LaSalle Street, Suite 900
                                                                 Chicago, Illinois 60602
                                                                         (312) 744-4746
                                                                  Attorney No. 6313833




                                       -26-
